 USDC IN/ND case 2:14-cv-00345-RL-PRC document 27 filed 01/27/15 page 1 of 2

AO 450 (Rev. 01/09) Judgment in a Civil Action



                            UNITED STATES DISTRICT COURT
                                                       for the
                                            Northern District of Indiana
EMILY ANN HARRISON
Deceased by
Maranda Campbell Personal Representative
                     Estate Plaintiff(s)
MRH
a minor, by her Guardians
by Alice Harrison
by Maranda Campbell
                     Plaintiff(s)
              v.                         Civil Action No. 2:14CV345

KIMBERLY A HESS
Dr
(Terminated 1/15/2015)
DANIEL LOTT
Dr
(Terminated 1/15/2015)
NORTHSHORE HEALTH CENTERS INC
(Terminated 1/15/2015)
United States of America
                     Defendant(s)

                                      JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):


9 the plaintiff                     recover from the defendant                    the amount of
dollars $               , which includes prejudgment interest at the rate of            % plus post-judgment
interest at the rate of           % along with costs.


9    the plaintiff recover nothing, the action is dismissed on the merits, and the defendant
recover costs from the plaintiff                          .


X Other: Plaintiffs’ claims are DISMISSED WITHOUT PREJUDICE. This case is closed.
This action was (check one):


9 tried to a jury with Judge                                 presiding, and the jury has rendered a verdict.
USDC IN/ND case 2:14-cv-00345-RL-PRC document 27 filed 01/27/15 page 2 of 2


9 tried by Judge                     without a jury and the above decision was reached.


X decided by Judge Rudy Lozano   on a motion to dismiss.


DATE: 1/27/2015                               ROBERT TRGOVICH, CLERK OF COURT


                                              by s/T. Castillo
                                                      Signature of Clerk or Deputy Clerk
